Case 07-02041      Doc 1     Filed 05/01/07 Entered 05/01/07 16:34:54            Desc Main
                               Document     Page 1 of 15



                      UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MAINE

____________________________________
                                    )
In Re: James S. DiGiandomenico,     )                 Chapter No. 11
                                    )
a/k/a Jay S. DiGiandomenico,        )
                                    )                 Case No. 06-20257 JBH
        DEBTOR                      )
                                    )
Jay and Jill Hachigian,             )                 Adversary Proceeding No.
                                    )
        PLAINTIFFS                  )
                                    )
v.                                  )
                                    )
James S. DiGiandomenico             )
                                    )
        DEFENDANT                   )
____________________________________)


                  COMPLAINT FOR NON-DISCHARGEABILITY

       NOW COME the Plaintiffs, Jay and Jill Hachigian, by and through their

attorneys, Shlansky & Co., LLP, and, pursuant to Rules 4004 and 4007 complain against

the dischargeability of Defendant-Debtor DiGiandomenico’s debt to them, as will be

further referenced below. Specifically, the Debtor made multiple knowing and fraudulent

misrepresentations to the Plaintiffs, with the clear intent to deceive and defraud them,

with regard to the construction of their home in Weston, Massachusetts, for which he was

the contractor between August 2001 and June 2003:

                                         PARTIES

       1. The Plaintiffs are individuals who reside in Weston, Massachusetts.
Case 07-02041      Doc 1    Filed 05/01/07 Entered 05/01/07 16:34:54            Desc Main
                              Document      Page 2 of 15
                                          2

       2. The Defendant Debtor James S. DiGiandomenico (the “Debtor”) is an

individual residing in Northborough, Massachusetts, and is the Debtor in this Chapter 11

bankruptcy case filed in the District of Maine on June 28, 2006.



                                 FACTUAL ALLEGATIONS

       3. On or about July 25, 2001, the Hachigians entered into an Abbreviated Form

of Agreement between Owner and Contractor (the “Contract”), with the Debtor’s

corporate entity, JSD Builders, Inc. (“JSDBI”), to construct a house (hereinafter, the

“Project”) in Weston, Massachusetts, modeled after a home that the Debtor had

constructed and which was featured in Boston Magazine’s May 2000 edition, referred to

as “Design Home 2000.”

       4. The Contract was a fixed cost contract in the amount of One Million Two

Hundred Thousand Dollars ($1,200,000.00), which was subsequently amended by

specific agreement of the parties to add defined features comprising a further Two

Hundred Seventy-Eight Thousand Seven Hundred Forty-Seven Dollars ($278,747.00) of

work, totaling One Million Four Hundred Seventy-Eight Thousand Seven Hundred Forty

Seven Dollars ($1,478,747.00)

       5. The Contract specified that the completion time of construction would be one

year from the start of construction, or March 2003, with time being of the essence.

       6. Beginning in August 2001, when the site preparation commenced, and

continuing throughout the course of construction, the Debtor personally represented and

certified in writing that percentages of completion had been attained, and dollar values

payable on account thereof had been accrued, on which the Hachigians relied in making
Case 07-02041      Doc 1     Filed 05/01/07 Entered 05/01/07 16:34:54             Desc Main
                               Document      Page 3 of 15
                                           3

payments to the Debtor. In fact, the Debtor knowingly and falsely misrepresented the

percentages of completion of the Project at all times throughout the course of

construction, with the intent to defraud the Hachigians and to induce them into paying

significantly more amounts than actually due under the Contract.

       7. Between August 2001 and December 2002, the Debtor made eighteen (18)

requests for payment from the Hachigians, which payments were made timely by the

Hachigians based on the Debtor’s personal certifications of the amount of work

completed.

       8. In or about December 2002, the Hachigians became concerned that work on

the Project suffered from significant defects and was running well over budget, in light of

the fact that the Project was approximately half-way complete and because they had

disbursed a significant amount of funds. When the Hachigians expressed their concerns

to the Debtor, the Debtor personally reassured them that he would fix the situation and

complete the Project within the contractual timeline.

       9. In or about January 2003, the Hachigians noticed that there was a significant

decrease in the amount of construction activity at the site, with little or no progress being

made, which was directly contradictory to the Debtor’s personal assurances, which were

knowing falsehoods, made with an intent to deceive and defraud the Hachigians.

       10. In or about February 2003, the Debtor suggested that the Hachigians place the

balance of the funds remaining to complete the house in an escrow account to ensure

payment. On information and belief, this request was made by the Debtor to avoid

having to approach the Hachigians directly with requests for payment and to justify the

work supported by each request, as Debtor intended to use the monies without certifying
Case 07-02041      Doc 1    Filed 05/01/07 Entered 05/01/07 16:34:54           Desc Main
                              Document      Page 4 of 15
                                          4

to the amount of work completed, in violation of his contractual obligations and his

personal assurances to the contrary.

       11. On or about February 10, 2003, the Hachigians hired David Phinney, a

construction supervisor and expert, to assess the deficiencies in the Debtor’s performance

as well as the cost overruns to which the Debtor had certified. Mr. Phinney determined

that the Debtor had billed the Hachigians for several items, including doors and windows

at full value which were not complete, and which the Debtor knew were incomplete at the

time he billed the Hachigians in full. Mr. Phinney furthermore advised the Hachigians

that the Debtor engaged in a practice of commencing work on change orders that had not

been approved by the Hachigians, a practice that is unacceptable in the construction

industry based on Mr. Phinney’s expert opinion. In addition, Mr. Phinney confirmed that

the Debtor had authorized the use of pre-made items or items built by the Debtor,

contrary to his personal representations to the Hachigians. The Debtor knowingly and

fraudulently misrepresented to the Hachigians that he had used the contractually-agreed

to items. Mr. Phinney furthermore determined that the Debtor’s front-loading of

payments, based on his personal misrepresentations of work completed, would make it

impossible for the Debtor to complete the Project within the terms of the Contract. The

Debtor fraudulently induced the Hachigians into making these front-loaded payments by

assuring them that the payments were commensurate with the work completed under the

Contract.

       12. On information and belief, the Debtor falsely and knowingly represented

completion percentages on the Project in order to obtain payments from the Hachigians

prior to those amounts actually being due.
Case 07-02041      Doc 1     Filed 05/01/07 Entered 05/01/07 16:34:54          Desc Main
                               Document      Page 5 of 15
                                           5

       13. The Debtor failed to complete the Project by the completion date of March

2003, most glaringly evidenced by the fact that the roof on the house was not complete

by such time, a full year after construction began.

       14. Relying upon the Debtor’s personal assurances that the Project would be

completed within the budget, the Hachigians continued to make payments to the Debtor.

       15. On or about May 21, 2003, frustrated by the Debtor’s repeated, unfulfilled

promises and unreasonable demands for payment without actual progress on the Project,

the Hachigans refused to pay any more amounts to the Debtor, exercising their right to do

so to prevent further monetary loss.

       16. On or about May 25, 2003, the Debtor failed to respond to any

communications from the Hachigians. The following month, three months after the

contractual completion date of March 2003, the Debtor quit the Project entirely,

absconding with funds elicited from the Hachigians to which he was not entitled.

       17. Mr. Phinney, the Hachigians’ consultant, determined that, as of June 2003,

sixty percent (60%) or less of the work was complete, although the Debtor had wrongly

induced the Hachigians into paying One Million Eighty-Seven Thousand Four Hundred

Fifty-Three Dollars ($1,087,453.00), or seventy-four percent (74%) of the fixed cost of

the Contract.

       18. The total cost of the work to complete the Project has subsequently been

shown to be $2,042,921.00 (before accounting for any factor for diminished use and

enjoyment, required repairs to defective work, or other consequential costs), and hence

the work that was actually completed was only fifty-three percent (53%) complete.
Case 07-02041      Doc 1    Filed 05/01/07 Entered 05/01/07 16:34:54             Desc Main
                              Document      Page 6 of 15
                                          6

       19. This overbilling, which was premised on the Debtor’s personal certifications

of work completed, induced the Hachigians to pay for twenty-one percent (21%) more of

the Project’s total work than was actually complete; thus, the Hachigians were, by dollar

value, overcharged for the work actually completed by a factor of forty percent (40%).

       20. On information and belief, the Debtor continues to conduct his business

operations under the names: (i) “JSD Building Co., Inc.,” a corporation organized in the

Commonwealth of Massachusetts, for which Mr. DiGiandomenico serves as President

and Treasurer and as a director; and (ii) “Underdog Construction Company, Inc.,” a

corporation organized in the State of New Hampshire, which is, on information and

belief, owned by the Debtor’s daughters who are approximately eighteen and twenty

years of age. On information and belief, JSDBI and the Debtor’s new business

operations are not legitimately separate entities from the Debtor.

       21. Furthermore as described above, the Debtor acted in an individual capacity

when he made knowingly false personal certifications to the Hachigians regarding,

among other things, the percentages of work completed on the Project, which induced

them into paying him far more than was due under the terms of the Contract.

       22. Based on, inter alia, the Debtor’s personal and knowingly fraudulent

misrepresentations (as referenced hereinabove), the Hachigians filed suit against the

Debtor personally in Middlesex Superior Court, Civil Action No. 05-03829, on October

31, 2005, for his tortious conduct involving misrepresentations and fraudulent

inducements of payments based on, among other things, his personal certifications of

payments that were not commensurate with work actually completed.
Case 07-02041         Doc 1      Filed 05/01/07 Entered 05/01/07 16:34:54                     Desc Main
                                   Document      Page 7 of 15
                                               7

        23. On June 28, 2006, the Hachigians’ case against the Debtor was stayed due to

the Debtor’s bankruptcy proceedings.

        24. The Hachigians, however, did not receive notice of the bankruptcy, or any of

the associated filings, from the Bankruptcy Court, in light of the fact that their address

was entirely omitted from the mailing matrix.1

        25. Specifically, the Hachigians were not put on notice of the bar date of the

complaints for determination of dischargeability, as they did not receive the Notice of the

Chapter 11 Bankruptcy Case, Meeting of the Creditors, and Deadlines2 (attached hereto,

together with the highlighted mailing matrix, as Exhibit A).

                                                COUNT I
                                     NON-DISCHARGEABILITY

        26. The Hachigians repeat and reallege the allegations set forth above in

paragraphs 1 through 25, as if fully set forth herein.

        27. The actions of the Debtor as set forth above, particularly his personal

certifications of payments that were not commensurate with work actually completed on

the Project, which misrepresentations Debtor knowingly and fraudulently made with the

intent to deceive the Hachigians, and upon which the Hachigians reasonably relied in

continuing to make payments to him.

        28. These actions, inter alia, constitute the Debtor’s effort to obtain money,

property, or services by false pretenses, false representations, and actual fraud, within the

meaning of 11 U.S.C. §523(a)(2)(A).



1
  Additionally, the debt was incorrectly scheduled in the amount of $564,174 to Jay and Kay Hachigian, c/o
David J. Shlansky, Esq., 1762 Massachusetts Avenue, Boston, MA 02420 (emphasis added).
2
  This notice provided that the deadline to file a Complaint to Determine Dischargeability of certain debts
was October 2, 2006.
Case 07-02041         Doc 1      Filed 05/01/07 Entered 05/01/07 16:34:54                    Desc Main
                                   Document      Page 8 of 15
                                               8

        29. In light of the omission of their address from the mailing matrix, the

Hachigians: (i) were not “scheduled” within the meaning of 11 U.S.C §523(a)(3)(B)3; and

(ii) were prevented from filing a timely request for determination of dischargeability

under 11 U.S.C. §523(a)(3)(B).

        30. The Hachigians are not barred by the October 2, 2006, deadline for filing a

non-dischargeability complaint under 11 U.S.C. §523(a)(2)(A). Creditors are not barred

from filing non-dischargeability complaints after the bar date has passed if the creditor

was not given court-ordered notice of the bar date but was listed in a debtor’s schedules

and given verbal notice of the bankruptcy petition prior to the bar date “because the

contrary result would violate due process and nullify notice requirement of

USCS/BKR/4007.”4

        WHEREFORE, the Hachigians demand that the obligations owed by the Debtor

to them be declared non-dischargeable debts pursuant to 11 U.S.C. §523 and that the

Court grant to them such further relief as is just, including, without limitation, costs,

interest, and attorneys’ fees.


Dated: May 1, 2007

                                                              /s/ David J. Shlansky
                                                              David J. Shlansky, Esq.
                                                              Shlansky & Co., LLP
                                                              1762 Massachusetts Avenue
                                                              Lexington, MA 02420
                                                              (617) 497-7200



3
  In re Lyman, 166 BR 333 (Bankr. S.D. Ill. 1994). Omission of a creditor’s name from the mailing matrix
is just as impermissible as omission from formal schedules. In re Smith, 21 F.3d 660 (5th Cir. 1994).
4
  “Due Process Clause focuses on duty of debtor to give notice of relevant dates, not on the relative ease
with which creditor can obtain that information without such notice.” In re Rogowski, 115 BR 409 (D.
Conn. 1990).
Case 07-02041   Doc 1   Filed 05/01/07 Entered 05/01/07 16:34:54   Desc Main
                          Document     Page 9 of 15



                                EXHIBIT A
          Case 07-02041              Doc 1        Filed 05/01/07 Entered 05/01/07 16:34:54                            Desc Main
                                                   Document     Page 10 of 15
FORM B9E (Chapter 11 Individual or Joint Debtor Case) (10/05)                                                           Case Number 06−20257
                                     UNITED STATES BANKRUPTCY COURT
                                              DISTRICT of Maine
      Notice of Chapter 11 Bankruptcy Case, Meeting of Creditors, & Deadlines
      A chapter 11 bankruptcy case concerning the debtor(s) listed below was filed on 6/28/06.

You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to protect your rights. All
documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below.
NOTE: The staff of the bankruptcy clerk's office cannot give legal advice.
                                    See Reverse Side For Important Explanations
Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
James S. DiGiandomenico
aka Jay S. DiGiandomenico
130 South Street
Northborough, MA 01532
Case Number:                                                             Social Security/Taxpayer ID/Employer ID/Other Nos.:
06−20257
Attorney for Debtor(s) (name and address):
Randy J. Creswell Esq.
Perkins Thompson Hinckley & Keddy, P.A.
One Canal Plaza
P.O. Box 426
Portland, ME 04112−0426
Telephone number: (207) 774−2635

                                                        Meeting of Creditors
Date: August 1, 2006                                            Time: 10:00 AM
Location: 537 Congress Street, Room 302, , , Portland, ME 04101

                                                                   Notice
The United States Trustee's policy is to require all debtors to bring positive identification to the meeting of creditors. Failure to do so may
result in delays in processing the case.

                                                                Deadlines:
                             Papers must be received by the bankruptcy clerk's office by the following deadlines:

                                                 Deadline to File a Proof of Claim:
                                            Notice of deadline will be sent at a later time.

                                                            Foreign Creditors
          A creditor to whom this notice is sent at a foreign address should read the information under "Claims" on the reverse side.

                Deadline to File a Complaint to Determine Dischargeability of Certain Debts: 10/2/06
                        Deadline to File a Complaint Objecting to Discharge of the Debtor:
                                              First date set for hearing on confirmation of plan.
                                                Notice of that date will be sent at a later time.
                                                 Deadline to Object to Exemptions:
                                       Thirty (30) days after the conclusion of the meeting of creditors.

                                       Creditors May Not Take Certain Actions:
In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor and the
debtor's property. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can request the
court to extend or impose a stay. If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be
penalized. Consult a lawyer to determine your rights in this case.
Address of the Bankruptcy Clerk's Office:                                             For the Court:
537 Congress Street                                          Clerk of the Bankruptcy Court:
Portland, ME 04101−3318                                      CES
Telephone number: (207)780−3482
Hours Open: Monday − Friday 8:00 AM − 1:00 PM 2:00 PM − 4:30 Date: 7/11/06
PM
         Case 07-02041             Doc 1        Filed 05/01/07 Entered 05/01/07 16:34:54                              Desc Main
                                                 Document     Page 11 of 15

                                                        EXPLANATIONS                                                        FORM B9E (10/05)
Filing of Chapter 11   A bankruptcy case under Chapter 11 of the Bankruptcy Code (title 11, United States Code) has been filed in this
Bankruptcy Case        court by or against the debtor(s) listed on the front side, and an order for relief has been entered. Chapter 11 allows
                       a debtor to reorganize or liquidate pursuant to a plan. A plan is not effective unless confirmed by the court. You
                       may be sent a copy of the plan and a disclosure statement telling you about the plan, and you might have the
                       opportunity to vote on the plan. You will be sent notice of the date of the confirmation hearing, and you may object
                       to confirmation of the plan and attend the confirmation hearing. Unless a trustee is serving, the debtor will remain
                       in possession of the debtor's property and may continue to operate any business.

Legal Advice           The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in this
                       case.

Creditors Generally  Prohibited collection actions are listed in Bankruptcy Code § 362. Common examples of prohibited actions include
May Not Take Certain contacting the debtor by telephone, mail or otherwise to demand repayment; taking actions to collect money or
Actions              obtain property from the debtor; repossessing the debtor's property; starting or continuing lawsuits or foreclosures;
                     and garnishing or deducting from the debtor's wages. Under certain circumstances, the stay may be limited to 30
                     days or not exist at all, although the debtor can request the court to extend or impose a stay.

Meeting of Creditors   A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor (both spouses
                       in a joint case) must be present at the meeting to be questioned under oath by the trustee and by creditors.
                       Creditors are welcome to attend, but are not required to do so. The meeting may be continued and concluded at a
                       later date without further notice. The court, after notice and a hearing, may order that the United States trustee not
                       convene the meeting if the debtor has filed a plan for which the debtor solicited acceptances before filing the case.

Claims                 A Proof of Claim is a signed statement describing a creditor's claim. If a Proof of Claim form is not included with
                       this notice, you can obtain one at any bankruptcy clerk's office. You may look at the schedules that have been or
                       will be filed at the bankruptcy clerk's office. If your claim is scheduled and is not listed as disputed, contingent, or
                       unliquidated, it will be allowed in the amount scheduled unless you file a Proof of Claim or you are sent further
                       notice about the claim. Whether or not your claim is scheduled, you are permitted to file a Proof of Claim. If your
                       claim is not listed at all or if your claim is listed as disputed, contingent, or unliquidated, then you must file a Proof
                       of Claim or you might not be paid any money on your claim and may be unable to vote on a plan. The court has not
                       yet set a deadline to file a Proof of Claim. If a deadline is set, you will be sent another notice. A secured creditor
                       retains rights in its collateral regardless of whether that creditor files a Proof of Claim. Filing a Proof of Claim
                       submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                       example, a secured creditor who files a Proof of Claim may surrender important nonmonetary rights, including the
                       right to a jury trial. Filing Deadline for a Foreign Creditor: The deadlines for filing claims set forth on the front
                       of this notice apply to all creditors. If this notice has been mailed to a creditor at a foreign address, the creditor may
                       file a motion requesting the court to extend the deadline.

Discharge of Debts     Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your debt.
                       See Bankruptcy Code § 1141(d). Unless the court orders otherwise, however, the discharge will not be effective
                       until completion of all payments under the plan. A discharge means that you may never try to collect the debt from
                       the debtor except as provided in the plan. If you believe that a debt owed to you is not dischargeable under
                       Bankruptcy Code § 523(a)(2), (4), or (6), you must start a lawsuit by filing a complaint in the bankruptcy clerk's
                       office by the "Deadline to File a Complaint to Determine Dischargeability of Certain Debts" listed on the front
                       side. The bankruptcy clerk's office must receive the complaint and any required filing fee by that Deadline. If you
                       believe that the debtor is not entitled to receive a discharge under Bankruptcy Code § 1141(d)(3), you must file a
                       complaint with the required filing fee in the bankruptcy clerk's office not later than the first date set for the hearing
                       on confirmation of the plan. You will be sent another notice informing you of that date.

Exempt Property        The debtor is permitted by law to keep certain property as exempt. Exempt property will not be sold and distributed
                       to creditors, even if the debtor's case is converted to chapter 7. The debtor must file a list of all property claimed as
                       exempt. You may inspect that list at the bankruptcy clerk's office. If you believe that an exemption claimed by the
                       debtor is not authorized by law, you may file an objection to that exemption. The bankruptcy clerk's office must
                       receive the objection by the "Deadline to Object to Exemptions" listed on the front side.

Bankruptcy Clerk's     Any paper that you file in this bankruptcy case should be filed at the bankruptcy clerk's office at the address listed
Office                 on the front side. You may inspect all papers filed, including the list of the debtor's property and debts and the list
                       of the property claimed as exempt, at the bankruptcy clerk's office.

Foreign Creditors      Consult a lawyer familiar with United States bankruptcy law if you have any questions regarding your rights in this
                       case.

                       −− Refer to Other Side for Important Deadlines and Notices −−
FORM B10 (Official Form 10) (10/05)
        Case B
UNITED STATES 07-02041
               ANKRUPTCYDoc 1 Filed 05/01/07 Entered 05/01/07 16:34:54 PROOF
                         COURT                                           Desc Main
                                                                              OF CLAIM
_______
MAINE                          Document     Page 12 of 15
Name of Debtor                                                          Case Number
James S. DiGiandomenico                                                 06-20257


NOTE:        This form should not be used to make a claim for an administrative expense arising after
the commencement of the case. A "request" for payment of an administrative expense may be filed
pursuant to 11 U.S.C. §503.
Name of Creditor (The person or other entity to whom the debtor   Check box if you are aware that
owes money or property):                                          anyone else has filed a proof of
                                                                  claim relating to your claim. Attach
                                                                  copy of statement giving particulars.
                                                                                                                            á06m20257ma^ä06-20257
Name and Address where notices should be sent:                    Check box if you have never
                                                                  received any notices from the
                                                                  bankruptcy court in this case.
                                                                  Check box if the address differs
                                                                  from the address on the envelope
                                                                  sent to you by the court.

                                                                                                                          THIS SPACE IS FOR COURT USE ONLY
Telephone Number:
Last four digits of account or other number by which creditor           Check here if     replaces
                                                                        this claim        amends          a previously filed claim, dated:__________
identifies debtor:

1. Basis for Claim
     Goods sold                                                             Retiree benefits as defined in 11 U.S.C. §1114(a)
     Services performed                                                     Wages, salaries, and compensation (fill out below)
     Money loaned                                                           Last four digits of your SS #: __________
     Personal injury/wrongful death                                         Unpaid compensation for services performed
     Taxes                                                                  from ____________ to __________________
     Other ________________________________                                          (date)               (date)
2. Date debt was incurred:                                              3. If court judgment, date obtained:

4. Classification of Claim. Check the appropriate box or boxes that best describe your claim and state the amount of the claim at the time case
filed. See reverse side for important explanations.
Unsecured Nonpriority Claim $_____________                                   Secured Claim
             Check this box if: a) there is no collateral or lien securing      Check this box if your claim is secured by collateral
your claim, or b) your claim exceeds the value of the property securing         (including a right of setoff).
it, or if c) none or only part of your claim is entitled to priority.
                                                                                  Brief Description of Collateral:
Unsecured Priority Claim                                                             Real Estate     Motor Vehicle            Other________________

  Check this box if you have an unsecured priority claim, all or part of          Value of Collateral:     $___________________________
  which is entitled to priority
                                                                             Amount of arrearage and other charges _
                                                                                                                   a_
                                                                                                                    t_
                                                                                                                     _t_i_m_e__c_a_s_e__f_i_l_e_d included in
  Amount entitled to priority $______________                                secured claim, if any: $__________________

  Specify the priority of the claim:
  Domestic support obligations under 11 U.S.C. §507(a)(1)(A) or                 Up to $ 2,225* of deposits toward purchase, lease, or rental of
  (a)(1)(B).                                                                    property or services for personal, family, or household use - 11
                                                                                U.S.C. § 507(a)(7).
  Wages, salaries, or commissions (up to $10,000),* earned within 180           Taxes or penalties owed to governmental units - 11 U.S.C. §
  days before filing of the bankruptcy petition or cessation of the             507(a)(8).
  debtor’s business, whichever is earlier - 11 U.S.C. § 507(a)(4).              Other - Specify applicable paragraph of 11 U.S.C. § 507(a)(__).
                                                                             *Amounts are subject to adjustment on 4/1/07 and every 3 years thereafter with
  Contributions to an employee benefit plan - 11 U.S.C. §507(a)(5).          respect to cases commenced on or after the date of adjustment.
5. Total Amount of Claim at Time Case Filed:          $_____________ _____________ _____________ _____________
                                                        (unsecured)           (secured)           (priority)          (Total)
   Check this box if claim includes interest or other charges in addition to the principal amount of the claim. Attach itemized statement of all
   interest or additional charges.
                                                                                                                          THIS SPACE IS FOR COURT USE ONLY
6. Credits: The amount of all payments on this claim has been credited and deducted for the purpose of
   making this proof of claim.
7. Supporting Documents:          Attach copies of supporting documents, such as promissory notes, purchase
   orders, invoices, itemized statements of running accounts, contracts, court judgments, mortgages, security
   agreements, and evidence of perfection of lien. DO NOT SEND ORIGINAL DOCUMENTS. If the
   documents are not available, explain. If the documents are voluminous, attach a summary.
8. Date-Stamped Copy:           To receive an acknowledgment of the filing of your claim, enclose a stamped,
   self-addressed envelope and copy of this proof of claim.
Date             Sign and print the name and title, if any, of the creditor or other person authorized to file
                 this claim (attach copy of power of attorney, if any):

Penalty for presenting fraudulent claim: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571.
FORM Bl0 (Official Form l0) (10/05)
              Case 07-02041              Doc 1        Filed 05/01/07           Entered 05/01/07 16:34:54                    Desc Main
                         INSTRUCTIONS FOR PROOF
                                    Document Page 13OF   CLAIM FORM
                                                     of 15
The instructions and definitions below are general explanations of the law. In particular types of cases or circumstances, such as bankruptcy
cases that are not filed voluntarily by a debtor, there may be exceptions to these general rules.

                                                            ---- DEFINITIONS ----
Debtor                                              Secured Claim                                      Unsecured Claim
The person, corporation, or other entity that       A claim is a secured claim to the extent that      If a claim is not a secured claim it is an
has filed a bankruptcy case is called the           the creditor has a lien on property of the         unsecured claim. A claim may be partly
debtor.                                             debtor (collateral) that gives the creditor the    secured and partly unsecured if the property on
                                                    right to be paid from that property before         which a creditor has a lien is not worth enough
Creditor                                            creditors who do not have liens on the             to pay the creditor in full.
                                                    property.
A creditor is any person, corporation, or other
                                                                                                       Unsecured Priority Claim
entity to whom the debtor owed a debt on the
                                                    Examples of liens are a mortgage on real
date that the bankruptcy case was filed.                                                               Certain types of unsecured claims are given
                                                    estate and a security interest in a car, truck,
                                                                                                       priority, so they are to be paid in bankruptcy
                                                    boat, television set, or other item of property.
Proof of Claim                                                                                         cases before most other unsecured claims (if
                                                    A lien may have been obtained through a
                                                                                                       there is sufficient money or property available
A form telling the bankruptcy court how             court proceeding before the bankruptcy case
                                                                                                       to pay these claims). The most common types
much the debtor owed a creditor at the time         began; in some states a court judgment is a
                                                                                                       of priority claims are listed on the proof of
the bankruptcy case was filed (the amount of        lien. In addition, to the extent a creditor also
                                                                                                       claim form. Unsecured claims that are not
the creditor´s claim). This form must be filed      owes money to the debtor (has a right of
                                                                                                       specifically given priority status by the
with the clerk of the bankruptcy court where        setoff), the creditor´s claim may be a secured
                                                                                                       bankruptcy laws are classified as Unsecured
the bankruptcy case was filed.                      claim. (See also Unsecured Claim.)
                                                                                                       Nonpriority Claims .



         Items to be completed in Proof of Claim form (if not already filled in)
Court, Name of Debtor, and Case Number:                                        the amount past due on the claim as of the date the bankruptcy case
  Fill in the name of the federal judicial district where the                  was filed. A claim may be partly secured and partly unsecured. (See
  bankruptcy case was filed (for example, Central District of                  DEFINITIONS, above).
  California), the name of the debtor in the bankruptcy case, and the
  bankruptcy case number. If you received a notice of the case                 Unsecured Priority Claim :
  from the court, all of this information is near the top of the notice.       Check the appropriate place if you have an unsecured priority claim,
                                                                               and state the amount entitled to priority. (See DEFINITIONS,
Information about Creditor:                                                    above). A claim may be partly priority and partly nonpriority if, for
   Complete the section giving the name, address, and telephone                example, the claim is for more than the amount given priority by the
   number of the creditor to whom the debtor owes money or                     law. Check the appropriate place to specify the type of priority claim.
   property, and the debtor´s account number, if any. If anyone else
   has already filed a proof of claim relating to this debt, if you never      Unsecured Nonpriority Claim:
   received notices from the bankruptcy court about this case, if your         Check the appropriate place if you have an unsecured nonpriority
   address differs from that to which the court sent notice, or if this        claim, sometimes referred to as a "general unsecured claim". (See
   proof of claim replaces or changes a proof of claim that was                DEFINITIONS, above). If your claim is partly secured and partly
   already filed, check the appropriate box on the form.                       unsecured, state here the amount that is unsecured. If part of your
                                                                               claim is entitled to priority, state here the amount not entitled to
1. Basis for Claim:                                                            priority.
   Check the type of debt for which the proof of claim is being filed.
   If the type of debt is not listed, check "Other" and briefly describe
   the type of debt. If you were an employee of the debtor, fill in         5. Total Amount of Claim at Time Case Filed:
   your social security number and the dates of work for which you             Fill in the total amount of the entire claim. If interest or other charges
   were not paid.                                                              in addition to the principal amount of the claim are included, check
                                                                               the appropriate place on the form and attach an itemization of the
                                                                               interest and charges.
2. Date Debt Incurred:
   Fill in the date when the debt first was owed by the debtor.             6. Credits:
                                                                               By signing this proof of claim, you are stating under oath that in
3. Court Judgments:                                                            calculating the amount of your claim you have given the debtor credit
   If you have a court judgment for this debt, state the date the court        for all payments received from the debtor.
   entered the judgment.
                                                                            7. Supporting Documents:
4. Classification of Claim                                                     You must attach to this proof of claim form copies of documents that
   Secured Claim:                                                              show the debtor owes the debt claimed or, if the documents are too
   Check the appropriate place if the claim is a secured claim. You            lengthy, a summary of those documents. If documents are not
   must state the type and value of property that is collateral for the        available, you must attach an explanation of why they are not
   claim, attach copies of the documentation of your lien, and state           available.
Case 07-02041   Doc 1   Filed 05/01/07 Entered 05/01/07 16:34:54   Desc Main
                         Document     Page 14 of 15
              Case 07-02041            Doc 1      Filed 05/01/07 Entered 05/01/07 16:34:54                        Desc Main
                                                   Document     Page 15 of 15


 District/off: 0100-2                 User: jwinberg                      Page 2 of 2                         Date Rcvd: Jul 11, 2006
 Case: 06-20257                       Form ID: B9E                        Total Served: 48

              ***** BYPASSED RECIPIENTS (continued) *****




I, Joseph Speetjens, declare under the penalty of perjury that I have served the attached document on the above listed entities in the manner
shown, and prepared the Certificate of Service and that it is true and correct to the best of my information and belief.

First Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.




Date: Jul 13, 2006                                      Signature:
